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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )       Criminal No. 3:20-cr-07
                                                     )
TAMMIE BROLIN                                        )



                             POSITION OF THE GOVERNMENT
                          WITH RESPECT TO SENTENCING FACTORS

               AND NOW comes the United States of America by its attorneys, Cindy K. Chung,

United States Attorney for the Western District of Pennsylvania, and Maureen Sheehan-Balchon,

Assistant United States Attorney for said District, and pursuant to Local Criminal Rule 32.1(D) of

the Local Rules of this Court, respectfully represents as follows:

               1.      The Government received the Presentence Report for Tammie Brolin, and

subsequently conferred with United States Probation Officer, Stacy Y. Miller, and Defense

Counsel, Martin A. Dietz, Esquire, regarding the contents of the Presentence Report.

               2.      Pursuant to the Sentencing Guidelines, the Government hereby gives notice

it has adopted the findings of the Presentence Report.

                                                     Respectfully submitted,

                                                     CINDY K. CHUNG
                                                     United States Attorney
                                                     PA ID No. 317227

                                                     /s/ Maureen Sheehan-Balchon
                                                     MAUREEN SHEEHAN-BALCHON
                                                     Assistant U.S. Attorney
                                                     PA ID No. 78059
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                                        CERTIFICATION

       I hereby certify that I have previously discussed the above matters with the probation officer

and counsel for Defendant. The government has no objections and has adopted the findings of the

Presentence Report.



Dated December 28, 2022                            /s/ Maureen Sheehan-Balchon
                                                   MAUREEN SHEEHAN-BALCHON
                                                   Assistant U.S. Attorney
                                                   PA ID No. 78059
